            Case 7:21-mj-00005-RSB Document 12 Filed 01/13/21 Page 1 of 1 Pageid#: 38
AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Western District
                                                      __________ District of
                                                                          of Virginia
                                                                             __________

                 United States of America                                   )
                            v.                                              )      Case No. 7:21-MJ-00005-002
                                                                            )
                                                                            )
                         Jacob Fracker                                      )      Charging District’s Case No. 1:21-MJ-00036
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court) USDC of the District of Columbia       .

          I have been informed of the charges and of my rights to:
          (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;
          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise —
                    unless I am indicted — to determine whether there is probable cause to believe that an offense has
                    been committed;
          (5)       a hearing on any motion by the government for detention;
          (6)       request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
          u          an identity hearing and production of the warrant.
          u          a preliminary hearing.
          u          a detention hearing.
          u
          xx         an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                     be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                     by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           01/13/2021
                                                           Jacob Fracker by Robert S. Ballou with permission
                                                                                            Defendant’s signature


                                                           Randy Cargill by Robert S. Ballou with permission
                                                                                      Signature of defendant’s attorney



                                                                                     Printed name of defendant’s attorney
